 Case 3:17-cv-00546-L-BN Document 36 Filed 04/02/18                   Page 1 of 2 PageID 181


                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

CRAIG CUNNINGHAM,                                §
                                                 §
                 Plaintiff,                      §
v.                                               §    Civil Action No. 3:17-546-L
                                                 §
CHANNER LLC and JEROME DAVIS,                    §
                                                 §
                 Defendants.                     §

                                             ORDER

       On November 2, 2017, United States Magistrate Judge David L. Horan entered the Findings,

Conclusions and Recommendation of the United States Magistrate Judge (“Report”), recommending

that the court grant Plaintiff’s Motion to Nonsuit (Doc. 32), filed November 1, 2017, with respect

to remaining Defendants Channer, LLC and Jerome Davis. In his motion Plaintiff requests to

voluntarily dismiss without prejudice his claims against Defendants John Does 1-5; Channer, LLC;

Jerome Davis; and National Debt Assistance. As noted by the magistrate judge, however, only

Defendants Channer, LLC and Jerome Davis remain, as all other Defendants were previously

dismissed as a result of Plaintiff’s prior motions to voluntarily dismiss the other Defendants, which

were granted by the court. No objections to the Report were filed.

       Having reviewed the pleadings, motion, file, record in this case, and Report, the court

determines that the findings and conclusions of the magistrate judge are correct, and accepts them

as those of the court. Accordingly, the court grants in part and denies in part Plaintiff’s Motion

to Nonsuit (Doc. 32). The court grants Plaintiff’s Motion to Nonsuit with respect to Defendants

Channer, LLC and Jerome Davis, who have yet to appear, and dismisses without prejudice



Order – Page 1
 Case 3:17-cv-00546-L-BN Document 36 Filed 04/02/18                      Page 2 of 2 PageID 182


Plaintiff’s claims against these Defendants under Federal Rule of Civil Procedure 41(a)(1)(A)(i).

Plaintiff’s motion is denied in all other respects. In light of Plaintiff’s Motion to Nonsuit his claims

against Jerome Davis, the court also denies as moot Plaintiff’s Motions for Entry of Default and

Default Judgment against Jerome Davis (Docs. 21, 23). Further, as no claims or Defendants remain,

the clerk of the court is directed to close this action after entry of this order.

        It is so ordered this 2nd day of April, 2018.



                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




Order – Page 2
